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                                                             July 29, 2020

BY ECF
The Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

                     Re: United States v. Ng Lap Seng, 15-cr-706-3 (VSB)

Dear Judge Broderick:

       Upon Defendant Ng Lap Seng’s request, undersigned counsel submit this letter to provide
another update about Ng’s health issues. Counsel has been informed that during a recent two-hour
medical visit, Ng complained about numbness on the left side of his body, pains in his chest, and
lumps on his chest and shin(s). Additionally, Ng is awaiting the results of x-rays of his lumps and
the back of his neck.

       Thank you again for your time and consideration.
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                                       Respectfully submitted,



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